Case 1:22-cr-00154-LMB Document 14 Filed 08/31/22 Page 1 of 1 PagelD# 114

AO 442 (Rev. 11/11} Arest Warrant

UNITED STATES DISTRICT COURT
for the

Eastern District of Virginia

UNDER SEAL

United States of America
Vv.

Case No, 1:22CR154
Tarry Jeron Wilson
a/k/a "Tejai"
a/k/a "City Limits"

we OO

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Tarry Jeron Wilson 5
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment OO Superseding Indictment O Information O Superseding Information © Complaint
© Probation Violation Petition (J Supervised Release Violation Petition [J Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371 Conspiracy to engage in animal fighting
7 U.S.C. §§ 2156(b) and 18 U.S.C. § 49 Training and Transporting Dogs for Participation in and Animal Fighting Venture

Date: @-24- 22 ALLO
Issuing officer's signature

City and state: Alexandria, Virginia Shaquela Haserd, Deputy ert

Printed name and dite

 

Return

 

 

at (city and state) SA W/, UY A

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This warran Lanes received on (date) TF 26 f: LOC the person was arrested on (date) If. z ( [2 2721

 

_ Arresting officer's signature

SA Z. Ae CATT
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